    Case 24-40605                Doc 232             Filed 07/17/24 Entered 07/17/24 17:29:29             Desc Main
                                                     Document      Page 1 of 23



                                         UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF TEXAS
                                                 SHERMAN DIVISION

    IN RE:                                                                     §
                                                                               §
    REMARKABLE HEALTHCARE OF                                                   §          Case No. 24-40605
    CARROLLTON, LP et al.                                                      §
                                                                               §
             Debtor(s).                                                        §

           MOTION OF KRS SEGUIN LLC                                                TO   COMPEL    DISCOVERY
           REGARDING MOTION TO LIFT STAY

                                    LBR 4001(a) NOTICE
Your rights may be affected by the relief sought in this pleading. You should read this
pleading carefully and discuss it with your attorney, if you have one in this bankruptcy case.
If you oppose the relief sought by this pleading, you must file a written objection, explaining
the factual and/or legal basis for opposing the relief.

No hearing will be conducted on this Motion unless a written objection is filed with the Clerk
of the United States Bankruptcy Court and served upon the party filing this pleading
WITHIN 21 DAYS FROM THE DATE OF SERVICE1 shown in the certificate of service
unless the Court shortens or extends the time for filing such objection. If no objection is
timely served and filed, this pleading shall be deemed to be unopposed, and the Court may
enter an order granting the relief sought. If an objection is filed and served in a timely
manner, the Court will thereafter set a hearing with appropriate notice. If you fail to appear
at the hearing, your objection may be stricken. The Court reserves the right to set a hearing
on any matter.

TO THE HONORABLE BRENDA T. RHOADES, U.S. BANKRUPTCY JUDGE:

           KRS Seguin, LLC, creditor, landlord, and party in interest (“KRS Seguin” or “KRS”), files

this Motion of KRS Seguin LLC to Compel Discovery Regarding Motion to Lift Stay (the “Motion”)

and in support thereof would show to the Court the following.




1
 KRS Seguin is filing concurrently with this motion a motion for emergency hearing seeking a hearing on July 18,
2024.




MOTION OF KRS SEGUIN LLC TO COMPEL DISCOVERY REGARDING MOTION TO LIFT STAY — PAGE 1
motion compel discovery 001 4879-7188-4242 v.3.docx [1] 4883-2302-7154, v. 2
  Case 24-40605                       Doc 232               Filed 07/17/24 Entered 07/17/24 17:29:29   Desc Main
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                                               EMERGENCY HEARING REQUESTED

             1.            KRS is filing concurrently with this motion a motion for an emergency hearing to

be conducted by telephone on July 18, 2024 if possible.

             2.            Counsel for the Debtors indicates that counsel is available on July 18, 2024 for a

telephone hearing.

                                   FACTUAL BACKGROUND AND BASIS OF RELIEF

             3.            On July 9, 2024, the Court directed the parties to cooperate regarding discovery

relating to the July 22, 2024 lift stay hearing.

             4.            On July 12, 2024 KRS sent a limited, targeted set of document requests to the

Debtors. See Exhibit K048.

             5.            On July 14, 2024, the Debtors served discovery to KRS. See Exhibit K049.

             6.            The discovery of the Debtors to KRS was not narrow and targeted like the discovery

of KRS, and obviously was retaliatory in nature.

             7.            Needless to say, KRS objects to the discovery of the Debtors as overbroad, not

relevant, unduly burdensome, and designed only to harass KRS and increase lease expenses.

             8.            On July 15, 2024, the parties conferred regarding the discovery, the results of the

conference are attached. KRS agreed to scale down some of the requests to try and achieve

resolution. See Exhibit K050.

             9.            As shown in the Exhibit K050, a number of disputes remain, and the exhibit shows

the status of the disputes.

             10.           With respect to Item No. 1, the bank statements, the Debtor indicated that the bank

statements were not necessary because the Debtor had amended the March 2024 MORs to include

the bank statements and not just activity print outs. Conveniently, the Debtors appear to NOT

have amended to include Seguin and the actual bank statements for March 22-April 30.



MOTION OF KRS SEGUIN LLC TO COMPEL DISCOVERY REGARDING MOTION TO LIFT STAY — Page 2
motion compel discovery 001 4879-7188-4242 v.3.docx [1] / 4883-2302-7154, v. 2
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             11.           The Debtors should be compelled, at minimum, to produce on July 19, 2024 at

latest, the following: all of #1, all of #2, all of #3, blast messages under #4, blast messages under

#5, all of #7, #10 for post-petition, #11 for post-petition, #15 for any running total of the Debtors.

                                                         CONCLUSION AND PRAYER

             WHEREFORE, KRS Seguin, LLC, creditor, and party in interest, respectfully requests that

the Court set an emergency hearing and compel production from the Debtors shown in Exhibit

K050. Creditor respectfully requests such other and further relief to which Creditor is entitled at

law or in equity.

  Dated: July 17, 2024                                                    Respectfully submitted:

                                                                          WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
                                                                          By:     /s/ Jeff Carruth
                                                                              JEFF CARRUTH (TX SBN:. 24001846)
                                                                              3030 Matlock Rd., Suite 201
                                                                              Arlington, Texas 76105
                                                                              Telephone: (713) 341-1158
                                                                              E-mail: jcarruth@wkpz.com

                                                                          ATTORNEYS FOR
                                                                          KRS CARROLLTON LLC, KRS DALLAS LLC,
                                                                          KRS SEGUIN, LLC, KRS FORT WORTH LLC,
                                                                          AND KILGORE PROPERTY MANAGEMENT LLC


                                CERTIFICATE OF SERVICE
       The undersigned hereby certifies that a true and correct copy of the foregoing was served
on July 17, 2024 by electronic notice to all registered ECF users in this case.

                                                                                     /s/ Jeff Carruth
                                                                                     JEFF CARRUTH




MOTION OF KRS SEGUIN LLC TO COMPEL DISCOVERY REGARDING MOTION TO LIFT STAY — Page 3
motion compel discovery 001 4879-7188-4242 v.3.docx [1] / 4883-2302-7154, v. 2
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                                         UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF TEXAS
                                                 SHERMAN DIVISION

 IN RE:                                                               §
                                                                      §
 REMARKABLE    HEALTHCARE                                          OF §               Case No. 24-40605
 CARROLLTON, LP et al.                                                §
                                                                      §
             Debtor(s).                                               §

           ORDER GRANTING MOTION OF KRS SEGUIN LLC TO COMPEL
           DISCOVERY REGARDING MOTION TO LIFT STAY (RE: DOCKET NO.
           231)

           On July 18, 2024, the Court conducted an emergency hearing regarding the above-

captioned motion. As set forth on the record, the Court is of the opinion that the following Orders

should be entered.

IT IS THEREFORE ORDERED THAT:

           1.          The Motion is granted as set forth herein.

           2.          The Debtors shall produce by 11:59 p.m. on July 19, 2024 all of the discovery
                       sought by the KRS Seguin LLC in Exhibit K048, as modified below:

                       all of #1, all of #2, all of #3, blast messages under #4, blast messages under #5, all
                       of #7, #10 for post-petition, #11 for post-petition, #15 for any running total of the
                       Debtors.


Dated: ____________________________


                                                                       _____________________________________
                                                                       THE HONORABLE BRENDA T. RHOADES
                                                                       UNITED STATES BANKRUPTCY JUDGE




ORDER GRANTING MOTION OF KRS SEGUIN LLC TO COMPEL DISCOVERY REGARDING MOTION TO LIFT
STAY (RE: DOCKET NO. 231) — PAGE 1
motion compel discovery 001 4879-7188-4242 v.3.docx [2] 4883-2302-7154, v. 2
Case 24-40605             Doc 232          Filed 07/17/24 Entered 07/17/24 17:29:29                     Desc Main
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                                                                                                | EXHIBIT K048      |
From:              Jeff Carruth
To:                Iboydston@qutnicki.com;   Max Schlan; Alexandria Rahn
Ce:                Jeff Carruth
Subject:           Remarkable - KRS document request re July 22 hearings
Date:              Friday, July 12, 2024 4:54:00 PM



Counsel:
In connection with matters set for hearing for July 22, 2024, and the instructions of the Court to
cooperate as to discovery, here is the first document request list from the KRS landlords.
| would like to get these documents by no later than 6:00 p.m. CDT Thursday, July 18, 2024.
Please let me know if you would like to discuss in order to simply the process. My cell is 214-552-
7242.
Thank you.


D          MENT      REQUEST LIST
           1.      All bank statements for each month of 2024 to date Ianuary, 2024 through and
                  including June, 2024) for each of the five Debtors.
           2.     The bank transaction detail maintained in Excel or other spreadsheet format by the
                  Debtors and/or John McPike for each bank account of the Debtors, including the
                  “Column H” additional detail, as to each bank account and each Debtor for January
                  1, 2024 through and including the present.
           3.      The payroll documents and information for each Seguin payroll for each post-
                  petition payroll, that indicate and include the following information. KRS will keep
                  confidential all payroll information.
                   Payroll          | Employer | Facility      | Employee | Position   | Rate   | Gross   | Net
                   Date                                          Name                             Pay       Pay




           4.     The emails and/or text messages transmitted by John McPike and/or Laurie Beth
                  McPike to any employees of any of the Debtors on or after January 1, 2024 relating
                  to W2 tax forms.
           5.     The emails and/or text messages transmitted by John McPike and/or Laurie Beth
                  McPike to any employees of any of the Debtors on or after January 1, 2024 relating
                  to the ability of any Debtor to make payroll and/or the timing of payroll.
           6.      Any documents evidencing the instances when John McPike and/or Laurie Beth
                  McPike physically traveled to and/or entered the Seguin facility on or after January
                  1, 2024 through and including the present.
           7.       Any documents evidencing any payments on the lease cure note from the Debtors
                  to Mustang NH, LLC, GMP            Dallas NH, LLC, WAG   Development,   Ltd., and Guadalupe
                  NH Development, Ltd., from the confirmed plan in the 2018 bankruptcy case.
           8.      Any loan documents between any of the Debtors and West Wharton Hospital
                  District (“WWHD”).
           9.      The documents that evidence any funding provided by WWHD to any of the
                  Debtors and the current balances due from any of the Debtors to WWHD.


                                            EXHIBIT         K048- Page 1
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                                                         Document      Page 6 of 23

             10.            The current accounts-payable detail report for each of the five Debtors.
             11.            The documents evidencing each outstanding and/or unpaid post-petition obligation
                           of each of the Debtors, including, for example, the invoices and/or statements from
                           each creditor.
             12.           Any personal financial statement of John McPike and/or Laurie Beth McPike issued
                          to any creditor or potential lender on or after January 1, 2023.
             13.            Any document presented to any of the Debtors, John McPlke, and/or Laurie Beth
                           McPike, from any person offering or proposing to provide a loan to any of the
                           Debtors, including but not limited to any letters of intent or similar documents from
                           any distressed lender, hard money lender, or similar lender.
             14.            Copies of the diligence, deliverables, reports, and/or other document provided by
                           any of the Debtors to any proposed or potential lender to any of the Debtors on or
                           after Jan. 1, 2023.
             15.            Any notices of any CMPs and/or other fines or penalties assessed by any
                          governmental unit against any of the Debtors, received by the Debtors on or after
                          January 1, 2023.
             16.            The documents evidencing any regulatory surveys of the Seguin facility conducted
                           on or after January 1, 2023.




 ATomOr-yuutteel                                              WKP                             Z
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                                                          EXHIBIT                 K048- Page 2
Case 24-40605          Doc 232          Filed 07/17/24 Entered 07/17/24 17:29:29            Desc Main
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                                                                                    |    EXHIBIT K049
From:             Max Schlan
To:              Jeff Carruth; Liz Boydston; Alexandria Rahn
Subject:          RE: Remarkable - KRS document request re July 22 hearings
Date:             Monday, July 15, 2024 4:31:35 PM
Attachments:      RH - First Document Request to Landlords.pdf



Jeff,


To the extent you seek to have the Debtors produce the requested documents and communications
by July 18, the Debtors object to these requests as irrelevant and unduly burdensome. Moreover,
not even including the time to collect the requested documents, a privilege review alone will take
more than the requested time.


It is curious your client was adamant to move forward immediately with Alleon’s motion as well as
your plethora of motions, including two on less than 24 hours’ notice, yet now you require this
abundance of discovery. From the Debtors’ point of view, almost the entirety of your requests is
simply irrelevant. For example, you make several requests related to payroll. Not a single motion on
for Monday is related to payroll other than your improper DIP motions on which historical payroll
information is not required.

That said, the Debtors intend to work diligently on satisfying your requests.   Based on the requests,
the Debtors estimate a collection period of approximately three to four weeks. That does not
include privilege review. We would like to have a meet and confer to discuss the timeline as well as
the need to continue the hearings scheduled for Monday to complete the discovery. We are
available to meet and confer tomorrow, July 16, 2024 in the morning or all day on Wednesday, July
17, 2024. Please let us know if you are available.


Additionally, attached please find our document requests for the Landlords.     We are happy to
discuss at our meet and confer.


Max Schlan


Phone: (646) 325-2330
Cell: (516) 353-2817
Fax: (646) 825-2330
mschlan@gutnicki.com


From: Jeff Carruth <jcarruth@wkpz.com>
Sent: Friday, July 12, 2024 5:55 PM
To: Liz Boydston <lboydston@gutnicki.com>; Max Schlan <mschlan@gutnicki.com>; Alexandria Rahn
<arahn@gutnicki.com>
Ce: Jeff Carruth <jcarruth@wkpz.com>
Subject: Remarkable - KRS document request re July 22 hearings


Counsel:
In connection with matters set for hearing for July 22, 2024, and the instructions of the Court to


                                        EXHIBIT           K049 - Page 1
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cooperate as to discovery, here is the first document request list from the KRS landlords.
| would like to get these documents by no later than 6:00 p.m. CDT Thursday, July 18, 2024.
Please let me know if you would like to discuss in order to simply the process.   My cell is 214-552-
7242.
Thank you.


D     MENT          REQUEST LIST
       1.        All bank statements for each month of 2024 to date Ianuary, 2024 through and
                including June, 2024) for each of the five Debtors.
        2.       The bank transaction detail maintained in Excel or other spreadsheet format by the
                Debtors and/or John McPike for each bank account of the Debtors, including the
                “Column H” additional detail, as to each bank account and each Debtor for January
                1, 2024 through and including the present.
        3.        The payroll documents and information for each Seguin payroll for each post-
                petition payroll, that indicate and include the following information. KRS will keep
                confidential all payroll information.
                 Payroll   | Employer | Facility   | Employee | Position     | Rate   | Gross   | Net
                 Date                                Name                               Pay       Pay




        4.       The emails and/or text messages transmitted by John McPike and/or Laurie Beth
                McPike to any employees of any of the Debtors on or after January 1, 2024 relating
                to W2 tax forms.
        5.       The emails and/or text messages transmitted by John McPike and/or Laurie Beth
                McPike to any employees of any of the Debtors on or after January 1, 2024 relating
                to the ability of any Debtor to make payroll and/or the timing of payroll.
        6.        Any documents evidencing the instances when John McPike and/or Laurie Beth
                McPike physically traveled to and/or entered the Seguin facility on or after January
                1, 2024 through and including the present.
        7.       Any documents evidencing any payments on the lease cure note from the Debtors
                to Mustang NH, LLC, GMP     Dallas NH, LLC, WAG   Development,    Ltd., and Guadalupe
                NH Development, Ltd., from the confirmed plan in the 2018 bankruptcy case.
        8.       Any loan documents between any of the Debtors and West Wharton Hospital
                District (“WWHD”).
        9.       The documents that evidence any funding provided by WWHD to any of the
                Debtors and the current balances due from any of the Debtors to WWHD.
        10.      The current accounts-payable detail report for each of the five Debtors.
        11.      The documents evidencing each outstanding and/or unpaid post-petition obligation
                of each of the Debtors, including, for example, the invoices and/or statements from
                each creditor.
        12.      Any personal financial statement of John McPike and/or Laurie Beth McPike issued
                to any creditor or potential lender on or after January 1, 2023.
        13.      Any document presented to any of the Debtors, John McPlke, and/or Laurie Beth


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                           McPike, from any person offering or proposing to provide a loan to any of the
                           Debtors, including but not limited to any letters of intent or similar documents from
                           any distressed lender, hard money lender, or similar lender.
             14.            Copies of the diligence, deliverables, reports, and/or other document provided by
                           any of the Debtors to any proposed or potential lender to any of the Debtors on or
                           after Jan. 1, 2023.
             15.           Any notices of any CMPs and/or other fines or penalties assessed by any
                          governmental unit against any of the Debtors, received by the Debtors on or after
                          January 1, 2023.
             16.            The documents evidencing any regulatory surveys of the Seguin facility conducted
                           on or after January 1, 2023.




 Jeff Carruth                                                 W           K           P          Z
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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

IN RE:                                                      §
                                                            §     CHAPTER 11
                                                            §
REMARKABLE HEALTHCARE OF                                    §     CASE NO. 24-40605
CARROLLTON LP, ET AL., 1                                    §
                                                            §     (Jointly Administered)
                                                            §
                           DEBTORS.                         §




             DEBTORS FIRST SET OF REQUESTS FOR PRODUCTION
        FROM KILGORE PROPERTY MANAGEMENT LLC AND AFFILIATES

         The above-captioned debtors and debtors-in-possession, by and through its attorneys,

Gutnicki LLP, requests the following production of Documents, pursuant to Fed. R. Bankr. P. 7034

and 9014 to be answered by Kilgore Property Management LLC, KRS Carrollton, LLC, KRS

Dallas, LLC, KRS Fort Worth LLC, and KRS Seguin, LLC by July 19, 2024:

                                               DEFINITIONS
     1. “Alleon” means Alleon Capital Partners LLC and shall include anyone acting on its behalf,

over whom they have control, or which is, or may be subrogated to their interests, including,

without limitation, any officer, agent, servant, employee, attorney, insurance company,

investigator, independent adjusting company, affiliate, subsidiary, or other person or entity.

     2. “Cases” means the above-captioned subchapter V of chapter 11 case and its affiliated,

jointly administered cases.




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Remarkable Healthcare of Carrollton, LP (5960), Remarkable Healthcare of Dallas, LP (3418),
Remarkable Healthcare of Fort Worth (1692), Remarkable Healthcare of Seguin, LP (4566), and Remarkable
Healthcare, LLC (5142).



                                                        1
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   3. “Communication” includes any contact or act by which any information or knowledge is

transmitted or conveyed between two or more persons or entities, by whatever means

accomplished, and includes written contact such as correspondence, letters, notes, advertisements,

proposals, solicitation, memoranda, telegrams, facsimiles, emails, or electronic file transfers, and

oral transmission and conveyance of information, including face-to-face meetings, telephone

conversations, and video conferences.

   4. “Concerning” means relating to, evidencing, supporting, negating, refuting, embodying,

containing, memorializing, comprising, reflecting, analyzing, constituting, describing, identifying,

referring to, referencing, discussing, indicating, connected with or otherwise pertaining in any way,

in whole or in part, to the subject matter being referenced.

   5. “Creditor” has the broadest possible meaning under section 101(10) of title 11 of the

United States Code.

   6. “Debtors” means, collectively, each debtor in the Cases, and shall include anyone acting

on their behalf, over whom they have control, or which is, or may be subrogated to their interests,

including, without limitation, any officer, agent, servant, employee, attorney, insurance company,

investigator, independent adjusting company, affiliate, subsidiary, or other person or entity.

   7. “Document” has the broadest possible meaning under Federal Rule of Civil Procedure 34

and includes each and every form of Communication, and also includes, without limitation, all

written, printed, typed, recorded, or graphic matter of any kind, type, nature, or description, in

whatever form (e.g., final and draft versions) that is or has been in Your, as defined herein, actual

or constructive possession, custody or control, including, but not limited to, all printed and

electronic copies of electronic mail, notes, correspondence, memoranda, tapes, stenographic or

handwritten notes, written forms of any kind, charts, blueprints, drawings, sketches, graphs, plans,




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articles, specifications, diaries, letters, telegrams, photographs, minutes, contracts, agreements,

reports, surveys, computer printouts, data compilations of any kind, teletypes, telexes, facsimiles,

invoices, order forms, checks, drafts, statements, credit memos, reports, summaries, books,

ledgers, notebooks, schedules, transparencies, recordings, catalogs, advertisements, promotional

materials, films, video tapes, audio tapes, brochures, pamphlets or any written or recorded

materials of any other kind, however stored (whether in tangible or electronic form), recorded,

produced or reproduced, including backup tapes. The term “Document” shall include not only

originals, but also any copies or reproductions of all such written, printed, typed, recorded, or

graphic matter upon which any notations, comments or markings of any kind have been made that

do not appear on the original documents or that are otherwise not identical to the original

documents.

   8. “Facilities” mean the properties in which the Debtors operated prior to the Petition Date.

   9. “Landlords” means Kilgore Property Management LLC, KRS Carrollton, LLC, KRS

Dallas, LLC, KRS Fort Worth LLC, and KRS Seguin, LLC, either individually or collectively,

and shall include anyone acting on their behalf, over whom they have control, or which is, or may

be subrogated to their interests, including, without limitation, any officer, agent, servant,

employee, attorney, insurance company, investigator, independent adjusting company, affiliate,

subsidiary, or other person or entity.

   10. “Person” means a natural person or an entity, including, without limitation, a corporation,

partnership, firm, sole proprietorship, association, joint venture, unincorporated association, trust,

or any other entity of any type or description whatsoever, whether formed for business or other

purposes.

   11. “Petition Date” means March 20, 2024.




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   12. “PureHealth” means Management MCOA, LLC and shall include anyone acting on its

behalf, over whom they have control, or which is, or may be subrogated to their interests,

including, without limitation, any officer, agent, servant, employee, attorney, insurance company,

investigator, independent adjusting company, affiliate, subsidiary, or other person or entity.

   13. “Relevant Time Period” means October 1, 2023, to the present.

   14. “WWHD” means West Wharton Hospital District and shall include anyone acting on its

behalf, over whom they have control, or which is, or may be subrogated to their interests,

including, without limitation, any officer, agent, servant, employee, attorney, insurance company,

investigator, independent adjusting company, affiliate, subsidiary, or other person or entity.

   15. “You” or “Your” means Landlord.

   16. “Your Possession” includes, but is not limited to, personal emails, personal computers,

home computers, texts, voicemails, digital documents, handwritten or typed notes or

communications, and hard copy documents.

                                        INSTRUCTIONS

       The preceding Definitions apply to each of these Instructions, and for purposes of the

Requests, the following Instructions shall be followed:

       1.      To the extent You have provided and fully satisfied any of the below Requests, You

shall provide a written response stating the date and manner of production of such Request(s).

       2.      All responses shall comply with the requirements of the Federal Rules of

Bankruptcy Procedure and the Local Rules for the United States Bankruptcy Court for the Eastern

District of Texas.




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        3.      The following Requests shall be deemed continuing in nature. In the event You

become aware of or acquire additional information Concerning any of the following Requests,

such additional information is to be promptly produced.

        4.      You are to produce all responsive Documents in Your Possession, custody or

control, wherever located, including, without limitation, those in the custody of Your

representatives and affiliates. A Document is deemed to be in Your Possession, custody, or control

if it is in Your physical custody, or if it is in the physical custody of any other person or entity and

You: (i) own such Document in whole or in part; (ii) have a right, by contract, statute, or otherwise,

to use, inspect, examine, or copy such Document on any terms; (iii) have an understanding, express

or implied, that You may use, inspect, examine, or copy such Document on any terms; or (iv) as a

practical matter, You have been able to use, inspect, examine, or copy such Document when You

sought to do so. If any requested Document was, but no longer is, in Your control, state the

disposition of each such Document.

        5.      If any Document requested herein was formerly in Your Possession, custody or

control and has been lost or destroyed or otherwise disposed of, You are requested to submit in

lieu of any such Document a written statement (a) describing in detail the nature of the Document

and its contents, (b) identifying the person(s) who prepared or authored the Document and, if

applicable, the person(s) to whom the Document was sent, (c) specifying the date on which the

Document was prepared or transmitted, and (d) specifying the date on which the Document was

lost or destroyed and, if destroyed, the conditions of and reasons for such destruction and the

person(s) requesting and performing the destruction.

        6.      If any part of the following Requests cannot be responded to in full, please respond

to the extent possible, specifying the reason(s) for Your inability to respond to the remainder and




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stating whatever information or knowledge You have Concerning the portion to which You do not

respond.

       7.      If You object to any of these Requests, state in writing with specificity the grounds

of Your objections. Any ground not stated shall be waived. If You object to a particular portion of

any Request, You shall respond to any other portions of such Request as to which there is no

objection and state with specificity the grounds of the objection.

       8.      The fact that an investigation is continuing or that discovery is incomplete shall not

be a justification for failing to respond to these Requests based on the knowledge or information

that You possess at the time You respond to these Requests. If an investigation is continuing or

discovery is not complete with respect to the matter inquired into by any Request, so state in Your

response to that Request.

       9.      Where any copy of any Document whose production is sought herein, whether a

draft or final version, is not identical to any copy thereof, by reason of alterations, notes, comments,

initials, underscoring, indication of routing, or other material contained thereon or attached thereto,

all such non-identical copies are to be produced separately.

       10.     The words “and” and “or” are to be construed both conjunctively and disjunctively.

The singular form of a noun or pronoun includes the plural form and vice versa. The word “all”

shall also include “each of,” and vice versa. The word “any” shall be construed to mean “any and

all” where the effect of such construction is to broaden the scope of the Request.

       11.     If there are no Documents responsive to any particular Request, please state so in

writing.




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       12.     A Request for any Document shall be deemed to include a request for any and all

transmittal sheets, cover letters, exhibits, enclosures, or attachments to such Document, in addition

to the Document in its full and unexpurgated form.

       13.     Each Request for Documents herein includes a request for exact copies of all disks,

CDs, DVDs, flash drives, memory sticks, and other removable media containing any information

responsive to such Request. Electronically stored information (“ESI”') must be produced in an

electronically searchable form that preserves the document's metadata and                  relational

information. Please provide all ESI in the format in its native file, in addition, with associated

single page tagged image file format (“TIFF”) with associated text (“.txt”) files (OCR or extracted

text from native files) and metadata.

       14.     If the identity of Documents responding to a Request is not known, then that lack

of knowledge must be specifically indicated in the response. If any information requested is not in

Your Possession but is known or believed to be in the possession of another person or entity, then

identify that person or entity and state the basis of Your belief or knowledge that the requested

information is in such person’s or entity’s possession.

       15.     Produce all Documents as they are kept in the ordinary course of business.

       16.     To the extent you refuse to respond to any Request, in whole or in part, on grounds

of privilege, identify the withheld Document or Communication on a privilege log stating: (i) the

identity of the person(s) who prepared or authored the Document or took part in the

Communication; (ii) the person(s) to whom the Document was shown or otherwise disclosed;

(iii) the date(s) on which the Document was prepared and disseminated, or on which the

Communication transpired or was disclosed; (iv) the general subject matter of the Document or

Communication; (v) the nature of the Document or Communication (e.g., telephone conference,




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office conference); and (v) the basis for the claim of privilege or withholding. Any redactions to

Documents shall be prominently identified with a mark indicating the location and size of the

redacted area.

       17.       Unless otherwise specified in the Requests, You are to produce all Documents and

Communications responsive to a Request from the Relevant Time Period.

                                           REQUESTS
       1.        All Documents and Communications in Your Possession, including but not limited

to your personal emails, personal computers, home computers, texts, and voicemails, Concerning

the Debtors.

       2.        All Documents and Communications in Your Possession, including but not limited

to your personal emails, personal computers, home computers, texts, and voicemails, Concerning

the sale, change of ownership, change of control, change of management, or other condition that

would affect the status of the Landlord or the Debtors at the Facilities.

       3.        All Documents and Communications by and among Landlords and the Debtors.

       4.        All Documents and Communications by and among Landlords and Alleon

Concerning the Debtors.

       5.        All Documents and Communications by and among Landlords and Alleon

Concerning the Facilities.

       6.        All Documents and Communications by and among Landlords and Alleon

Concerning the sale, change of ownership, change of control, change of management, or other

condition that would affect the status of the Landlord or the Debtors at the Facilities.

       7.        All Documents and Communications by and among Landlords and PureHealth

Concerning the Debtors.




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          8.    All Documents and Communications by and among Landlords and PureHealth

Concerning the Facilities.

          9.    All Documents and Communications by and among Landlords and PureHealth

Concerning the sale, change of ownership, change of control, change of management, or other

condition that would affect the status of the Landlord or the Debtors at the Facilities.

          10.   All Documents and Communications by and among Landlords and any Creditor,

the Office of the United States Trustee, or Mark Weisbart, in his capacity as Subchapter V Trustee,

Concerning the Debtors.

          11.   All Documents and Communications Concerning the Your purchase of the

Facilities (not subject to the Relevant Time Period).

          12.   All Documents and Communications by and among Landlords and WWHD

Concerning the Debtors.

July 15, 2024

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Proposed Counsel to the Debtors and Debtors
in Possession




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                              REQUEST                                                       STATUS AFTER CALL
1.        All bank statements for each   month   of 2024 to date      Debtor refused or claims to be unable to produce by July
(January, 2024 through and including June, 2024) for each of          19.
the five Debtors.
                                                                      Bank statements were not attached to March 2024 MORs.


                                                                      Debtor said June 15 that MORs    refiled with bank statements.


                                                                      This is not true for Seguin.   See Docket Nos. 164-166.



2.      The bank transaction detail maintained in Excel or            Debtor refused or claims to be unable to produce by July
other spreadsheet format by the Debtors and/or John McPike            19.
for each bank account of the Debtors, including   the “Column
H” additional detail, as to each bank account and each                This item was already in existence and was shown to KRS and
Debtor for January 1, 2024 through and including   the present.       Alleon in meetings ordered to occur during recent cash
                                                                      collateral hearing.
3.       The payroll documents and information for each               Debtor refused or claims to be unable to produce by July
Seguin payroll for each post-petition payroll, that indicate and      19.
include the following information. KRS will keep confidential
all payroll information.                                              Debtor refused and indicated payroll not an issue.

                                                                      KRS requests an order to determine who is and is not on the
                                                                      Seguin payroll or placed elsewhere.



4.     The emails and/or text messages transmitted by John            Debtor refused or claims to be unable to produce by July
McPike and/or Laurie Beth McPike to any employees of any of           19.
the Debtors on or after January 1, 2024 relatingto W2 tax
forms.                                                                KRS agreed to limit blast emails or texts addressing
                                                                                                                        the issue.




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                              REQUEST                                                    STATUS AFTER CALL
                                                                    Debtors are believed to have issued incorrect or placeholder
                                                                    W2s.



5.     The emails and/or text messages transmitted by John          Debtor refused or claims to be unable to produce by July
McPike and/or Laurie Beth McPike to any employees of any of         19.
the Debtors on or after January 1, 2024 relatingto the ability of
any Debtor to make payroll and/or the timing of payroll.            KRS agreed to limit blast emails or texts addressing
                                                                                                                      the issue.

                                                                    Debtor is believed to have had difficulties making Seguin
                                                                    payroll.

6.     Any documents evidencing the instances when John             Debtor refused or claims to be unable to produce by July
McPike and/or Laurie Beth McPike physically traveled to             19.
and/or entered the Seguin facility on or after January 1, 2024
through and including the present.                                  This request pertains to the degree to which the McPikes are
                                                                    directly involved in the Seguin facility.



7.     Any documents evidencing any payments on the lease           Debtor refused or claims to be unable to produce by July
cure note from the Debtors to Mustang NH, LLC, GMP Dallas           19.
NH, LLC, WAG Development, Ltd., and Guadalupe NH
Development, Ltd., from the confirmed plan in the 2018              This item goes to the cure necessary on Seguin as well as the
bankruptcy case.                                                    claim by Mr. McPike that the cure note from the 2018 case
                                                                    was paid off.



8.    Any loan documents between any of the Debtors and             Debtor indicated   Debtor   would   look.
West Wharton Hospital District (“WWHD”).
                                                                    Debtor agreed to produce by July 19.




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                              REQUEST                                                   STATUS AFTER CALL

9.     The documents that evidence any funding provided by         Debtor indicated   Debtor   would   look.
WWHD to any of the Debtors and the current balances due
from any of the Debtors to WWHD.                                   Debtor agreed to produce by July 19.

10.     The current accounts-payable detail report for each of     Debtor refused or claims to be unable to produce by July
the five Debtors.                                                  19.

                                                                   KRS offered to limit to post-petition for purposes of July 19.

                                                                   This should be an easily generated report. This would show
                                                                   what debts the Debtors have and have not paid post-petition.

11.     The documents evidencing each outstanding and/or           Debtor refused or claims to be unable to produce by July
unpaid post-petition obligation of each of the Debtors,            19.
including, for example, the invoices and/or statements from
each creditor.                                                     KRS offered to limit to post-petition for purposes of July 19.

                                                                   This should be an easily generated report. This would show
                                                                   what debts the Debtors have and have not paid post-petition.



12.    Any personal financial statement of John McPike             Debtor refused and refused to facilitate.
and/or Laurie Beth McPike issued to any creditor or potential
lender on or after January    1, 2023.                             Debtor indicates they do not represent the McPikes and
                                                                   cannot facilitate this request.



13.    Any document presented to any of the Debtors, John          This pertains to the exit financing that Mr. McPike has testified
McPlke, and/or Laurie Beth McPike, from any person offering        about several times.




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                              REQUEST                                                    STATUS AFTER CALL
or proposingto provide a loan to any of the Debtors, including
but not limited to any letters of intent or similar documents       Debtor agreed to produce by July 19.
from any distressed lender, hard money lender, or similar
lender.
14.     Copies of the diligence, deliverables, reports, and/or      This pertains to the exit financing that Mr. McPike has testified
other document provided by any of the Debtors to any                about several times.
proposed or potential lender to any of the Debtors on or after
Jan. 1, 2023.                                                       Debtor agreed to produce by July 19.


15.     Any notices of any CMPs and/or other fines or               Debtor refused or claims to be unable to produce by July
penalties assessed by any governmental unit against any of          19.
the Debtors, received by the Debtors on or after January 1,
2023.                                                               Debtor refused, said was impossible, and would take weeks.

                                                                    Debtor should have a running total   at this point.

                                                                    Debtor should have this on hand if Debtor has any kind of
                                                                    sense of where this case is going.

16.    The documents evidencing any regulatory surveys of           This pertains to the exit financing that Mr. McPike has testified
the Seguin facility conducted on or after January 1, 2023.          about several times.

                                                                    Debtor agreed to produce by July 19.




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